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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                       11/2/2020
JULIET MIRANDA,
                 Plaintiff,
                                                    19-CV-10387 (BCM)
       -against-
                                                    ORDER
COMMISSIONER OF SOCIAL SECURITY,
                 Defendant.


BARBARA MOSES, United States Magistrate Judge.

       On August 28, 2020, the Commissioner moved pursuant to Fed. R. Civ. P. 12(c) for

judgment on the pleadings remanding this action to the Commissioner for further administrative

proceedings pursuant to the fourth sentence of 42 U.S.C. § 405(g). (Dkt. No. 16.) The

Commissioner concedes that the Administrative Law Judge violated the treating physician rule,

such that remand for reassessment of plaintiff's residual functional capacity is warranted. (Dkt.

No. 17 at 12.)

       Plaintiff's brief in response to the Commissioner's motion for judgment of pleadings was

due "within 60 days of the filing of the Commissioner's motion" (Dkt. No. 8), making the

deadline October 27, 2020. Plaintiff has not filed any responsive papers. Nor has she stipulated

to the remand sought by the Commissioner. The Court's docket does not reveal whether the

parties have discussed a stipulated remand.

       In light of the plaintiff's pro se status, the Court hereby EXTENDS her deadline to

respond to the Commissioner's motion to November 25, 2020.

       In light of the fact the Commissioner has requested a remand – which, barring rare

circumstances, is precisely the relief obtained when a plaintiff successfully challenges a decision

by the Social Security Administration denying disability benefits – the Court directs the parties

to meet and confer (remotely) in good faith to determine whether plaintiff wishes to so stipulate.
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The Commissioner shall promptly contact plaintiff for this purpose. If no remand stipulation has

been filed by November 25, 2020, the Commissioner shall file a status letter updating the Court

as to whether the parties met and conferred on this issue and, if so, the outcome of their

discussions.

       Chambers staff will mail a copy of this Order to the pro se plaintiff.

Dated: New York, New York
       November 2, 2020
                                             SO ORDERED.



                                             ________________________________
                                             BARBARA MOSES
                                             United States Magistrate Judge




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